           Case 1:06-cv-00315-RCL Document 97 Filed 03/17/10 Page 1 of 6



                               UNITED STATES DISTRICT COURT
                               OF THE DISTRICT OF COLUMBIA

 CARL A. BARNES, et al


                         Plaintiffs                 Civil Action No:        06-315 (RCL)

 v.                                                 Next Event: None scheduled

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA,

                         Defendant

              PLAINTIFFS’ PARTIALLY REDACTED REPLY TO THE DISTRICT’S

 OPPOSITION (DOCKET # 95) TO PLAINTIFFS’ MOTION TO COMPEL JACCS DATA

                                           (DOCKET # 86)

       On 3/8/10 the District produced on a disc in response to Request # 2 of plaintiffs’ 4th

document production requests (“Request # 2”) which asked for JACCS data from 19 JACCS tables

identified by name and other tables identified by function for the date range 9/1/05 to the date of

production. However, as plaintiffs informed the District before the District filed its opposition

(docket # 95), the JACCS data the District produced in response to Request # 2 does not satisfy

Request # 2 as explained in detail below in the redacted section.

       The District’s JACCS data production (“October 2009 Eight Table Data Update”) covers

only some of the date range specified in Request # 2 and the October 2009 Eight Table Data Update

provides data from only some fields of only some JACCS tables instead of all fields from the 19

tables identified by name (and other functionally defined tables) in Request # 2.

       Therefore, the District’s October 2009 Eight Table Data Update provided on a disc on

3/9/10 is incomplete. Moreover, the District’s legal objection to providing any response at all from

10/19/09 (date of original response) to 3/9/10 is not substantially justified.

                                                    1
           Case 1:06-cv-00315-RCL Document 97 Filed 03/17/10 Page 2 of 6



                                             INTRODUCTION

         Request # 2 asked the District to produce from the JACCS database for the date range from

9/1/05 to the date of production; (1) all data from all fields of 19 tables identified by table name

(using the table names in column A of the JACCS Data Dictionary JACCS in plaintiffs’

possession); and (2) all data from all fields in any additional tables1 needed to determine the exact

location of a given inmate at any point in time on or after September 1, 2005; and (3) all data from

all fields in any additional tables that include fields populated at R&D Control and/or R&D

Processing, MHU, Superior Court and all of the half-way houses from whom in-custody defendants

were released from 9/1/05 to present (and as supplemented to the termination of the case).

       The District states that plaintiffs’ email dated 3/11/10 “fail[s] to identify exactly what is

supposedly lacking from the information provided.” First, the opposition including the footnote

omits any mention of the correspondence between the plaintiffs and the District which has been

going on since October 2009 in which plaintiffs have repeatedly specifically explained to the

District why an update of records to the fields and tables the District produced in mediation District

Eight Table Data Runs (like the ones the District promised on 10/19/09 and produced on 3/9/10, the

October 2009 Eight Table Data Update) does not satisfy plaintiffs’ Request # 2 for additional

JACCS tables and fields. Plaintiffs have labored “to identify exactly what is supposedly lacking”

for months. Plaintiffs’ Exhibit # 7, Plaintiffs’ Exhibit # 8. The opposition thereby attempts by a

selective presentation of emails to create the impression that the District did not and could not know

how or why the 3/8/10 production of a file created (Plaintiffs’ Exhibit # 11) 10/19/09 containing

nothing but an update of records to the fields and tables the District produced in mediation



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  Plaintiffs requested, in addition to the 19 enumerated fields, tables in two “functional requests,”
that is all tables needed to perform certain functions, because plaintiffs do not know which tables in
addition to the 19 requested tables, if any, are required for this function.

                                                   2
           Case 1:06-cv-00315-RCL Document 97 Filed 03/17/10 Page 3 of 6



does not satisfy the 9/16/09 Request # 2 for JACCS data from all fields in 19 enumerated tables

for the date range 9/1/05 to the present. Moreover, the District omits from the text of plaintiffs’

email text (discussed below in the redacted section) specifically informing the District why the disc

does not satisfy Request # 2. Additionally, this footnote omits crucial correspondence between the

March 8, 2010 email transmitting the requests and the March 11, 2010 email reply detailing the

inadequacy of the production. Thirdly, the opposition including the footnote also disregards how

the inadequacy of the request is apparent from the legend on the disc and the name of the file in

light of the specificity of the request and the whole history of JACCS discovery in this case.

Moreover, plaintiffs’ motion specified the details of the request and the text of the motion make it

clear that an update to earlier limited productions do not contain all the fields and tables specified in

Request # 2. Finally, the opposition including the footnote attempts by a selective presentation of

emails to shift to plaintiffs’ the District’s responsibility for not making an adequate production in

response plaintiffs’ request for JACCS data in Request # 2. It is the District’s burden to compare

the contents of the disc to the list of tables requested in # 2 and to make sure they match and to

discuss the production with its JACCS experts given plaintiffs’ specific explanation of why a data

run of the 8 tables produced by the District in mediation would not satisfy Request # 2.

       The District also states in its opposition on page two (quoting from language from an

opposition filed under seal pursuant to a protective order the Court entered on the District’s

motion, a motion the plaintiffs opposed) that plaintiffs “concede” that “JACCS data cannot be

relied on to identify over detentions” and so, “Accordingly, plaintiffs have acknowledged that

JACCS data cannot be utilized on the key question in this phase of discovery, i.e., whether there is

liability.” The District is creating a false impression here in this statement about how plaintiffs (and

the District) use JACCS data to identify over detentions by reproducing one phrase but not all

sentences of a paragraph from plaintiffs’ opposition.

                                                    3
           Case 1:06-cv-00315-RCL Document 97 Filed 03/17/10 Page 4 of 6



       The phrase quoted in isolation (as the District quotes it) creates a false impression of what

plaintiffs are saying about their need for the JACCS data because, a few lines down in the same

paragraph in which the phrase the District has quoted in isolation appears in full (in both the

original and the revised versions of the opposition), plaintiffs explain how the JACCS data is useful

in determining liability, as is explained below in the redacted section.

       Moreover, the argument based on the selective presentation of a single phrase from an entire

paragraph glosses over the difference between an over detention (person held past his Release

Date) and a “potential” late releases (person maybe held past his Release Date) as the parties

have been using the terminology since the Bynum case. Plaintiffs devoted 5 ½ pages of their

motion to compel responses to their 4th document production requests (which is what the District is

opposing) to explaining how JACCS data yields “potential” late releases but not actual late releases,

and how one could utilize a combination of lists of “potential” late releases generated by JACCS

and manual examination of the jackets to separate over detentions (actual late releases) from

“potential” late releases to ascertain the number of over detentions and over detention hours and to

make observations about persons subjected to post release strip searches. Motion to compel, pages

9-14. Anyone who understands the distinction between an over detention (actual late release) and a

“potential” late release (a potential over detention, that is, some shown as over detained in a query

run in the JACCS data) knows why the JACCS data request is still useful. Even if the JACCS data

by itself cannot be used by itself to identify over detentions it can be used to identify “potential” late

releases and to generate lists of “potential” late releases. Anyone who has been paying attention to

JACCS discovery in this case understands the distinction between an over detention (actual late

release) and a “potential” late release. An over detention is someone released after his Release Date

and a “potential” late release is someone who, based on a query in the JACCS data, may have been

released after his Release Date. The District itself discusses this concept of over detentions and

                                                    4
              Case 1:06-cv-00315-RCL Document 97 Filed 03/17/10 Page 5 of 6



“potential” late releases at length in its late release report submitted in Bynum attached hereto and

to plaintiffs’ opposition to the District’s motion for a protective order as Plaintiffs’ Exhibit # 1. In

the report the District explained how it used a combination of lists of “potential” late releases

generated from JACCS combined with manual examination of the jackets to determine over

detentions.

       The District’s contentions on plaintiffs’ use of the data dictionary and the data entry matrix

are equally ludicrous. The District states “In the interim” plaintiffs’ counsel used the JACCS data

dictionary and the JACCS Data Entry Responsibilities matrix in the deposition of Lee Gazlay as

though plaintiffs were using in a deposition documents it was meanwhile requesting in a motion to

compel. Plaintiffs have old versions of these documents and want all versions used, especially any

more recent versions. For example, the version of the JACCS Data Entry Responsibilities Matrix

(request # 5) plaintiffs have (and have shown to the District repeatedly) is from December 2001 and

was produced in Bynum, not in this case. December 2001 is before MHU came online and before

the DOC began making courthouse releases. Plaintiffs cannot tell from the District’s first or second

responses whether they have all versions or even the most recent versions of the JACCS documents

requested in requests #1, # 3 and # 5.

                                             DISCUSSION

       This portion of the reply and all exhibits are filed under seal pursuant to the protective order

entered in this case, (docket # 64)

Respectfully submitted,

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                                                    5
          Case 1:06-cv-00315-RCL Document 97 Filed 03/17/10 Page 6 of 6




Respectfully submitted                      Respectfully submitted,

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                                        6
